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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 COMMITTEE ON THE JUDICIARY,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                                      Plaintiff,
                                                              Case No. 1:19-cv-2379
                  v.

 DONALD F. MCGAHN II,

                                      Defendant.


                        RESPONSE TO ORDER TO SHOW CAUSE
                       REGARDING RELATED CASE DESIGNATION

       Plaintiff Committee on the Judiciary of the United States House of Representatives

(Judiciary Committee) hereby responds to the Court’s order to show cause why this case should

be designated as related to In re Application of the Committee on the Judiciary, U.S. House of

Representatives, for an Order Authorizing the Release of Certain Grand Jury Materials, 1:19-gj-

00048-BAH (filed July 26, 2019) (In re Application).

       These cases are properly related under Local Civil Rule 40.5(a)(3)(ii)-(iii) because both

seek key evidence for the Judiciary Committee’s investigation into whether to recommend

articles of impeachment against President Donald J. Trump for potentially criminal obstructive

conduct. The same underlying Committee investigation of the same Presidential misconduct is

at the heart of both matters before this Court. Therefore, “judicial economy would be served by

having the[ ] matters resolved by the same judge.” Singh v. McConville, 187 F. Supp. 3d 152,

156 (D.D.C. 2016) (quoting Autumn Journey Hospice, Inc. v. Sebelius, 753 F. Supp. 2d 135, 140

(D.D.C. 2010)).
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                                        BACKGROUND

       In March 2019, Special Counsel Robert S. Mueller III issued his Report On The

Investigation Into Russian Interference In The 2016 Presidential Election (Report), concluding

that the “Russian government interfered in the 2016 presidential election in sweeping and

systematic fashion.” Application of the Committee on the Judiciary, U.S. House of

Representatives, For An Order Authorizing the Release of Certain Grand Jury Materials

(Committee Application) at 3, In re Application (July 26, 2019) (quoting Report, Vol. I at 1)

(ECF No. 1); Compl. ¶ 1, Comm. on the Judiciary, U.S. House of Representatives v. McGahn,

1:19-cv-2379 (August 7, 2019) (ECF No. 1). The Report, which followed a lengthy

investigation by the Special Counsel and grand jury proceedings overseen by this Court, 1 further

details considerable evidence of multiple acts undertaken by President Trump to obstruct the

Special Counsel’s investigation. See Committee Application at 3-8; Compl. ¶¶ 2, 24, 26.

       As explained in the pleadings filed thus far in the two cases, the Judiciary Committee is

investigating the events described in the Report to determine “whether to recommend articles of

impeachment against the President based on the obstructive conduct described by the Special

Counsel.” Compl. ¶ 1; see also id. ¶¶ 61-62; accord Committee Application at 1-2, 3, 22-23

(Judiciary Committee is “conducting an investigation to determine whether to recommend

articles of impeachment”). To gather evidence for this investigation, the Judiciary Committee

filed In re Application on July 26, 2019, seeking the release of portions of the Report redacted

pursuant to Federal Rule of Criminal Procedure 6(e) as well as certain underlying grand jury




1
 See Minute Order (Aug. 7, 2019) (explaining that the Committee filed In re Application with a
Notice of Related Case to In re Application for an Order Authorizing the Release of Grand Jury
Material Cited, Quoted, or Referenced in the Report of Special Counsel Robert S. Mueller III,
1:19-mc-00045-BAH (filed April 1, 2019)).
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materials that would enable it to assess, among other things, the President’s “knowledge and

state of mind” concerning the events of the Presidential campaign described in the Report in

order “to determine whether he acted with corrupt intent when he took actions to impede the

Special Counsel’s investigation.” Committee Application at 35. The Committee additionally

seeks underlying grand jury materials that “relate directly to … actions taken by” former White

House Counsel and counsel for the Trump Campaign Donald F. McGahn II “during the

campaign, the transition, or McGahn’s period of service as White House Counsel,” to question

McGahn effectively. Id. at 41-42.

       On August 7, 2019, the Judiciary Committee filed its complaint in this case to compel

testimony from McGahn, who is “the most important witness, other than the President, to the key

events that are the focus of the Judiciary Committee’s investigation.” Compl. ¶ 5. As with the

evidence sought in In re Application, the testimony of McGahn is “critical to the Judiciary

Committee’s independent assessment of President Trump’s conduct as described in the Special

Counsel’s Report,” Compl. ¶ 64, including the Committee’s efforts to assess the President’s

“intent” and the “motivations for his actions” in interfering with the Special Counsel’s

investigation, among other potentially obstructive conduct, id. ¶ 66.

                                          ARGUMENT

       Ordinarily, “new cases filed in this courthouse are randomly assigned,” Singh, 187 F.

Supp. at 154 (citing Local Civ. R. 40.3(a)), but the “local rules contain an exception … for

related cases,” id. (citing Local Civ. R. 40.5 (additional citations omitted)). Pending civil cases

are “deemed related” when, as relevant here, they “involve common issues of fact” or “grow out

of the same event or transaction.” Local Civ. R. 40.5(a)(3)(ii)-(iii). This “related case rule

embodies the principle that in certain instances, the interests of judicial economy outweigh the



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fundamental interests served by the random assignment rule.” Autumn Journey, 753 F. Supp. at

139 (citing Doe v. Von Eschenbach, 2007 WL 1655881, at *1 (D.D.C. June 7, 2007)).

       For the related-case rule to apply, “the underlying facts themselves must be common.”

Dakota Rural Action v. U.S. Dep’t of Agric., No. 18-cv-2852-BAH, 2019 WL 1440134, at *2

(D.D.C. Apr. 1, 2019). However, the factual overlap between the two cases need not be

complete. Courts in this district have treated cases as related where, for example, plaintiffs

shared the same “ultimate goal,” Assiniboine & Sioux Tribe of Fort Peck Indian Reservation v.

Norton, 211 F. Supp. 2d 157, 158 (D.D.C. 2002), there was “substantial overlap in both the

factual underpinning and the legal matters in dispute,” Autumn Journey, 753 F. Supp. 2d at 140,

or the court would “be required to make similar factual determinations” concerning defendants’

conduct, Singh, 187 F. Supp. 3d at 156. Thus, “although differences may exist between” two

cases, a related-case designation is nonetheless proper where “there are clearly issues of fact that

are common to both.” Assiniboine, 211 F. Supp. 2d at 160.

       This standard is readily satisfied here for three reasons.

       First, the cases involve numerous “common issues of fact.” Local Civ. R. 40.5(a)(3)(ii).

In re Application and McGahn arise out of the same Judiciary Committee investigation being

conducted pursuant to the same legal authorities—and in each, the Committee seeks evidence to

assess whether to recommend articles of impeachment based on the same underlying obstructive

acts by President Trump. Committee Application at 1-2, 12-13, 22-23 (setting forth

authorization for and purpose of impeachment investigation); accord Compl. ¶¶ 1, 4, 19, 61-62

(same). The “underlying facts” of the two cases are thus identical: Russia’s interference in the

2016 election, welcomed by the Trump campaign, see Committee Application at 3-6, Compl. ¶¶

26, 31; the Special Counsel’s investigation of that interference, see Committee Application at 3-



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8, Compl. ¶¶ 24-25; the President’s multiple actions to undermine the Special Counsel’s

investigation, see Committee Application at 6-12, Compl. ¶¶ 32-51; and the Committee’s

commencement of an investigation into the President’s conduct and months-long efforts to

procure evidence for that investigation; see Committee Application at 13-25, Compl. ¶¶ 57-63,

69-86. 2

           This factual overlap extends to the specific types of evidence the Judiciary Committee is

amassing, as well as findings the Court must make regarding the Committee’s need for that

evidence. Principally, the Committee is seeking evidence in both cases that would bear on

whether President Trump acted with “corrupt intent” in the various episodes of potential

obstruction of justice set forth in the Report. See Committee Application at 35-36 (grand jury

materials would enable the Committee to assess “the President’s knowledge and state of mind”);

Compl. ¶ 66 (testimony from McGahn would be “of critical aid to the Judiciary Committee in

assessing the President’s intent”). Because of his senior roles on the campaign and in the White

House, the witness best situated to shed light on the President’s intent is McGahn. See Compl.

¶ 65 (“McGahn witnessed or participated in events relevant to nearly all of the most egregious

episodes of possible Presidential obstruction[.]”); id. ¶ 5 (“McGahn is uniquely positioned to …

provide evidence regarding the President’s intent”).



2
 Nothing in Trump v. Comm. on Ways & Means, U.S. House of Representatives, No. 1:19-cv-
02173 (TNM), 2019 WL 3388537 (D.D.C. July 25, 2019), changes this relatedness analysis. In
concluding that the related-case rule did not apply, the Court in Ways & Means stressed that the
President’s suit against the State of New York and the Ways and Means Committee to strike
down a New York state tax law on First Amendment grounds had “nothing [to] do with” the
Ways and Means Committee’s earlier-filed case under a “federal statute that, the [Ways and
Means] Committee argues, allows it to acquire the President’s federal tax returns from a federal
agency.” 2019 WL 3388537, at *2 (emphasis in original). By contrast, both cases here arise out
of the same Judiciary Committee investigation under the same constitutional authority of the
same Presidential conduct.


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       In In re Application, the Committee thus is seeking grand jury materials “that describe

actions taken by the central witness to the Committee’s investigation, Don McGahn” or that

could otherwise be used to question McGahn about the President’s conduct. See Committee

Application at 40; see also id. 41-42. For example, the Committee could use grand jury

materials regarding former Trump Campaign Chairman Paul Manafort’s dealings with President

Trump during the campaign, see Committee Application at 21, 35-36, to question McGahn about

his discussions with the President regarding the risks of Manafort’s potential cooperation and the

President’s state of mind when he attempted to discourage Manafort from cooperating, see

Compl. ¶ 50. Because the Court must find that the Committee has demonstrated a

“particularized need,” In re Sealed Case, 801 F.2d 1379, 1381 (D.C. Cir. 1986), for the materials

it seeks in In re Application, it will thus need to evaluate any materials pertaining to McGahn for

eventual use by the Committee when McGahn testifies. See Committee Application at 37-38

(discussing Judiciary Committee’s “particularized need” for materials to “question McGahn

about his precise understanding of all relevant facts at the time the President engaged in various

attempts to undermine the Special Counsel’s investigation, including when he ordered McGahn

to fire Special Counsel Mueller”). McGahn is therefore a critical link connecting the two cases.

His unique role as the most important witness to possible obstruction, and so his place in both the

Committee Application and the Complaint, reinforces the relatedness of the two matters.

       Second, and for similar reasons, both cases “grow out of the same event or transaction,”

Local Civ. R. 40.5(a)(3)(iii)—namely, the Judiciary Committee’s impeachment investigation

regarding the potentially obstructive conduct detailed in the Report. See Autumn Journey, 753 F.

Supp. at 140 (cases concerning promulgation and application of regulation “arise out of” the

same event or transaction). The Committee has explained in both cases that the authority for this



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investigation, and the need for the requested materials and testimony, derive from, among other

sources, the House’s Article I impeachment powers and the Committee’s role in determining the

potential exercise of those powers. See Committee Application at 1-2, 12-13, 22-25; Compl.

¶¶ 11, 19, 57. Evaluating the claims in each case will thus require the Court’s review of the

constitutional basis for and the purpose behind the Judiciary Committee’s impeachment

investigation. See Committee Application at 27 (arguing impeachment investigation is

preliminary to a “judicial proceeding” for purposes of Rule 6(e)(3)(E)); Compl. ¶¶ 61-62

(outlining various legislative, investigative, and oversight purposes of Judiciary Committee’s

investigation, including whether to recommend articles of impeachment); see also Autumn

Journey, 753 F. Supp. 2d at 140 (finding relatedness, where there was “substantial overlap in

both the factual underpinning and the legal matters in dispute”). The clear factual overlap

concerning the Committee’s legal authority to conduct its investigation further supports

relatedness here.

       Third, given the urgency of the Judiciary Committee’s investigative task, judicial

efficiency would be served by a finding of relatedness. See Singh, 187 F. Supp. 3d at 156-57.

The Judiciary Committee and counsel for the Department of Justice have already agreed to a

briefing schedule in In re Application, see Minute Order (July 31, 2019), and the Judiciary

Committee has advised counsel in McGahn (McGahn is represented by the same Department of

Justice attorneys who have appeared in In re Application) that the Committee will be pursuing

expedited relief in McGahn. See Compl. ¶ 10 (“The delay caused by McGahn’s refusal to testify

thus severely impedes the Judiciary Committee’s ability to do its time-sensitive work.”). Given

the anticipated expedition of both cases, considerations of judicial economy and efficiency




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militate in favor of a single judge resolving the overlapping factual and legal questions presented

in both cases.

                                          CONCLUSION

       For the reasons set forth above, the Court should deem this case related to In re

Application under Local Civ. Rule 40.5.


                                             Respectfully submitted,

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August 12, 2019



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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2019, I caused the foregoing document to be filed via

this Court’s CM/ECF system, which I understand caused service on all registered parties.



                                                   /s/ Douglas N. Letter
                                                   Douglas N. Letter




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